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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

___________________________________________
                                            )
UNITED STATES OF AMERICA,                   )
                                            )
         Plaintiff,                         )
                                            )
      v.                                    )
                                            )
ENBRIDGE ENERGY, LIMITED                    )
       PARTNERSHIP,                         )
ENBRIDGE PIPELINES (LAKEHEAD) L.L.C., )                      Civil Action No. 1:16-cv-914
ENBRIDGE ENERGY PARTNERS, L.P.,             )
ENBRIDGE ENERGY MANAGEMENT, L.L.C., )                        Judge Gordon J. Quist
ENBRIDGE ENERGY COMPANY, INC. ,             )
ENBRIDGE EMPLOYEE SERVICES, INC.,           )
ENBRIDGE OPERATIONAL SERVICES, INC., )
                                            )
ENBRIDGE PIPELINES INC., and                )
ENBRIDGE EMPLOYEE SERVICES CANADA )
      INC.,                                 )
                                            )
         Defendants.                        )
___________________________________________ )


       NOTICE OF NON-MATERIAL MODIFICATION OF CONSENT DECREE

                  (FOURTH MODIFICATION OF CONSENT DECREE)

       The United States and Enbridge 1 hereby notify the Court that they have agreed to a non-

material modification of a provision in Paragraph 116.a of the Consent Decree that governs the

location of certain Field Exercises and Table Top Exercises required as part of the Spill




1
 As used herein, “Enbridge” refers collectively to: Enbridge Energy, Limited Partnership,
Enbridge Pipelines (Lakehead) L.L.C., Enbridge Energy Partners, L.P., Enbridge Energy
Management, L.L.C., Enbridge Energy Company, Inc., Enbridge Employee Services, Inc.,
Enbridge Operational Services, Inc., Enbridge Pipelines Inc. and Enbridge Employee Services
Canada Inc.
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Response and Preparedness Requirements established in Section VII.H of the Consent Decree

previously entered by the Court in this action. As previously approved by the Court, Paragraph

116.a specified that “Enbridge shall conduct such exercises in cities and towns shown on

Appendix C.” The parties have agreed to modify this sentence to read: “Enbridge shall conduct

such exercises in cities and towns shown on Appendix C, unless Enbridge requests in writing and

EPA agrees in writing to conduct such exercises in other cities and towns.”

       The agreed modification is not a material modification of the Consent Decree, as it does

not change the number, timing, or content of any of the required exercises. Rather, it merely

expands the number of locations where required exercises may be conducted, provided that the

Environmental Protection Agency agrees in writing to locations proposed by Enbridge for the

exercises.

       Under Paragraph 201 of the Consent Decree, non-material modifications of the Consent

Decree do not require Court approval and are effective upon notice to the Court. Thus, no

separate action by the Court is required to effectuate the modification described herein.




                                                 2
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 The undersigned party enters into and agrees to be bound by this Fourth Modification ofthe
 Consent Decree in United States v. Enbridge Energy, Limited Partnership, et al., 1:16-cv-914
(W.D. MI).


        FOR PLAINTIFF UNITED STATES OF AMERICA




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                              Environmental Enforcement Section

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